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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.:_____________________

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 JOE HARRY PEGG and,
 DOLORES E. PEGG

       Defendants.
 ___________________________/

                                COMPLAINT TO FORECLOSE

        The United States of America, by and through the undersigned Assistant United States

 Attorney, hereby files this Complaint and alleges as follows:

        1.      This is an action brought by the United States of America to foreclose a federal

 criminal fine judgment lien entered against Defendant, Joe Pegg, upon certain real property.

        2.      This action is brought pursuant to 28 U.S.C. §§ 2001-2003; 18 U.S.C. §§ 3613

 and 3664.

        3.      This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1345. Venue is

 proper in this Court under 28 U.S.C. § 1391.

        4.      The real property upon which the United States seeks to foreclose its lien consists

 of a parcel situated in Broward County, Florida, within the jurisdiction of this Court, and

 described as follows:

        Real property located at 3547 Derby Lane, Weston, Florida, more particularly
        described as: LOT 33, BLOCK 4 OF SON OF CHOPS ACCORDING TO THE
        PLAT THEREOF, AS RECORDED IN PLAT BOOK 138, PAGE 7, PUBLIC
        RECORDS OF BROWARD COUNTY, FLORIDA. (Hereinafter “the subject
        property”).
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        5.       Defendant Joe Pegg is an inmate currently residing at FMC Lexington, in Fayette

 County, Kentucky.

        6.       Defendant Dolores E. Pegg, Joe Pegg’s wife, is a resident of Broward County,

 Florida, and resides in the subject property.

                              Foreclosure of Criminal Fine Judgment Lien

        7.       On February 16, 1996, Joe Pegg was sentenced to 360 months in prison and

 ordered to pay a $500,000.00 criminal fine, plus interest, for conspiracy to import marijuana in

 violation of 21 U.S.C. § 963 in United States vs. Joe Harry Pegg, Case Number 94-38-CR-FTM-

 17D.

        8.       The Judgment in a Criminal Case was entered in United States District Court for

 the Middle District of Florida on February 20, 1996. See Exhibit A.

        9.       On April 2, 1996, the United States recorded a Notice of Lien for Fine and/or

 Restitution Imposed Pursuant to the Sentencing Reform Act of 1984 (“Notice of Lien”) in

 Official Records Book 24689, Page 0474 of the Public Records of Broward County, Florida. See

 Exhibit B.

        10.      The United States seeks to recover the unpaid criminal fine against Joe Pegg by

 foreclosure of the federal lien encumbering his interest in the subject property.

        11.      At the time of the entry of the judgment and the recording of the Notice of Lien in

 the Public Records of Broward County, the subject property was owned jointly by Joe Pegg and

 Dolores Pegg.

        12.      Despite demand, to date, Joe Pegg has neglected, failed and/or refused to pay the

 full amount of the criminal fine debt secured by the criminal judgment and lien and has paid only

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 $204,698.50 towards the debt secured by the lien.

        13.     The federal criminal fine judgment and lien attach to and encumber Joe Pegg’s

 interest in the subject property and can be foreclosed.

        WHEREFORE, Plaintiff, the United States of America, prays for the following relief:

        A.      That this Court determine the priority of all claims to and liens upon the subject

 property;

        B.      That this Court adjudge and decree that the criminal fine judgment lien of the

 United States be foreclosed against the subject property, that the property be sold free and clear

 of the liens and claims of all parties having an inferior interest in the subject property, and that

 the net proceeds of the sale be distributed in accordance with the priority determined by the

 Court, and

        C.      That the United States be granted its costs incurred in this action, and that the

 Court grant such other and further relief as justice requires.

 Dated: February 12, 2016

                                                        Respectfully submitted,

                                                        WIFREDO A. FERRER
                                                        UNITED STATES ATTORNEY


                                                By:     /s/ Danielle Croke____________
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